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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
United States of America


Name(s) of counsel (if any):
Billy J. Williams
Susanne Luse


Address: 1000 SW Third Ave., Suite 600, Portland Oregon 97204
Telephone number(s): 503-727-1019
Email(s): susanne.luse@usdoj.gov
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes         No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
John Eric Smith


Name(s) of counsel (if any):
Kelly Anderson



Address: 1730 E. McAndrews Road, Suite A, Medford, OR 97504
Telephone number(s): 541-773-7000
Email(s): kelly@andersonlaw.com


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        Rev. 12/01/2018
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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         Rev. 12/01/2018
